        Case 1:20-cv-04669-GBD-DCF Document 32 Filed 08/14/20 Page 1 of 10




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 ATHENA ART FINANCE CORP.,

                        Plaintiff,
                                                        Case No. 20-cv-4669(GBD)
                 -against-
 that                                                   Hon. George B. Daniels, USDJ

 CERTAIN ARTWORK BY JEAN-MICHEL                         Jury Demanded
 BASQUIAT ENTITLED HUMIDITY, 1982, in
 Rem,

                        Defendants,

 SATFINANCE INVESTMENT LIMITED and
 DELAHUNTY LIMITED d/b/a DELAHUNTY
 FINE ART,
                Interested Parties.


                        Athena’s Answer to Delahunty’s Counterclaim
         Plaintiff Athena Art Finance Corp. (“Athena”), by and through its attorneys Mazzola

Lindstrom, LLP, responds to the counterclaim asserted by Delahunty Fine Arts (“Delahunty”) in

its answer and counterclaim dated July 30, 2020. Athena denies each and every allegation of the

counterclaim not expressly and specifically admitted below.

                                      Preliminary Statement
         Delahunty never had any rights to “Humidity” by Jean-Michel Basquiat (the “Painting”),

and still doesn’t today. Delahunty’s false claim to a “12.5% beneficial interest” in the Painting is

based on undisputedly fraudulent documents.




                                                 1
      Case 1:20-cv-04669-GBD-DCF Document 32 Filed 08/14/20 Page 2 of 10




       In all key respects, this case is even weaker than Delahunty’s London case in which

Athena has already prevailed.1 Delahunty’s new claim is based on a one-page invoice for

$2,750,000 from Inigo Philbrick Ltd. (“IPL”), dated November 1, 2016 – not an actual

agreement – that Delahunty recalls was negotiated through “the discussions” that took place

during “five or six meetings” at Philbrick’s house, on no dates in particular in June 2016.

(Delahunty counterclaim ¶ 15). It was during the “course of these discussions” that Delahunty

was led to “believe” that Philbrick had purchased a $22 million Basquiat from “SKH

Management Corp” (a grocery and garden center in Amish country, Pennsylvania, with no

apparent connection to the art world, or Inigo Philbrick). (Id. ¶ 16). That is the improbable basis

for Delahunty’s claim to this court that it owns precisely 12.5% of this very valuable 1982

Basquiat.

       Today, Delahunty has come to acknowledge that “IPL’s sale to Delahunty was rife with

material misrepresentations and omissions” (id. ¶ 21), and Delahunty also admits that “IPL did

not acquire the Painting for $22 million from SKH Management Corp.” (Id. ¶ 23). It is therefore

unsurprising that Delahunty never disclosed itself to anyone as having an interest in the Painting

until after Philbrick stopped making interest payments to Athena and fled to the South Pacific.

       By contrast, Athena is a highly disciplined institutional lender. Athena is not an

“investor” and does not make investments or acquire equity interests in artworks. The criminal

complaint against the now-indicted Philbrick appropriately recognizes Athena as the “Art




1
 The judgment dated June 2, 2020 from the High Court of Justice, Business and Property Courts
of England and Wales, dismissed the action against Athena and awarded fees to Athena in the
action captioned Satfinance Investments Limited v. (1) Inigo Philbrick (2) Inigo Philbrick
Limited (3) 18 Boxwood Green Limited (4) Athena Art Finance Corp., BL-2019-001998.


                                                 2
       Case 1:20-cv-04669-GBD-DCF Document 32 Filed 08/14/20 Page 3 of 10




Finance Company.”2 Here, Athena made a loan pursuant to the terms of a professionally-

underwritten and fully-documented financing transaction. Pursuant to the loan terms, Athena has

always had possession, custody and control of the Basquiat, as it does today, and as it did when

Athena loaned the Painting for an exhibition in Japan and when it was returned to Athena in New

York. Athena conducted extensive due diligence, had proof that IPL made actual payments to

Phillips Auctioneers LLC – the real seller – for the actual purchase price of $12,500,000 in

accordance with a bona fide Phillips Private Sale Agreement, disbursed loan proceeds against the

Painting as loan collateral, and recorded its security interest as a creditor (UCC-1 Financing

Statement), thereby obtaining a valid perfected security interest in the Painting.

         Today, Athena is also a judgment creditor by virtue of a prior action captioned Athena

Art Finance Corp. v. 18 Boxwood Green, et al, Index No. 657322/2019. As a secured lender,

Athena has the immediate right to sell the Painting (its collateral) pursuant to UCC Section 9-610

et seq. Athena filed this in rem action, inviting any interested parties to appear, and brought an

order to show cause to receive the court’s imprimatur to sell the Painting. Given Athena’s

superior rights as a secured lender with a first priority lien, as a matter of settled law and in

accordance with the terms of the loan and security agreement, Athena is entitled to sell the

Painting and receive the first right of repayment for all accrued and unpaid principal, interest,

fees and expenses of which it is rightfully owed.

                       Athena’s Responses to the Numbered Paragraphs
         1.     Athena admits that Inigo Philbrick has been indicted for crimes relating to

Athena, but denies the remaining allegations in Paragraph 1.




2
    SDNY Docket No. 20-cr-351.
                                                   3
      Case 1:20-cv-04669-GBD-DCF Document 32 Filed 08/14/20 Page 4 of 10




        2.     Athena admits the allegations in Paragraph 2 to the extent that Satfinance

Investment Limited (“SIL”) and Delahunty claim title to the Painting, but notes that this action

arose under Athena’s loan and security agreement with 18 Boxwood Green (and the ancillary

documents and guarantees incorporated therein), pursuant to which Athena is entitled to sell

Humidity irrespective of SIL or Delahunty’s claims to title or beneficial ownership thereof.

        3.     Athena admits that it seeks a declaration that it is entitled to foreclose upon and

sell Humidity and notes that it has a right to dispose of the collateral as a secured lender with a

defaulted loan, and as a judgment creditor against all loan obligors: Philbrick, IPL and 18

Boxwood Green (“Boxwood”), even if Delahunty’s rights are not resolved prior thereto. Athena

denies all remaining allegations in Paragraph 3.

        4.     Athena admits the allegations in Paragraph 4.

        5.     Athena denies the allegations in Paragraph 5, and notes that the invoice on which

Delahunty relies is not an “agreement governed by English law.”

        6.     Athena denies the allegations in Paragraph 6 except admits that it made a loan to

Boxwood and Boxwood pledged artworks including the Painting as collateral.

        7.     Athena admits the allegations in Paragraph 7, except Athena rejects the

characterization of the transfer of the Painting from IPL to Boxwood as being a “purported”

transfer, rather than a valid asset transfer, vetted and approved by Boxwood’s independent

directors.

        8.     Athena denies the allegations in Paragraph 8.

        9.     Athena admits the allegations in Paragraph 9.




                                                   4
      Case 1:20-cv-04669-GBD-DCF Document 32 Filed 08/14/20 Page 5 of 10




       10.     Athena denies the allegations in Paragraph 10, and denies that Delahunty is

entitled to the relief requested in Paragraph 10.

       11.     Athena is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 11.

       12.     Athena admits the allegations in Paragraph 12.

       13.     To the extent Paragraph 13 contains conclusions of law, no response is required,

and Athena respectfully refers to the court the question whether it has subject matter jurisdiction

over this action.

       14.     To the extent Paragraph 14 contains conclusions of law (including in footnote 2),

no response is required. Athena admits that both its principal place of business and the Painting

are within the Southern District of New York.

       15.     Athena is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 15.

       16.     Athena is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 16 as to Philbrick’s representations to Delahunty and Delahunty’s

subsequent beliefs.

       17.     Athena is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 17, but notes that the invoice attached as Exhibit 1 to Delahunty’s

counterclaim makes no mention of governing law.

       18.     Athena is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 18.



                                                    5
     Case 1:20-cv-04669-GBD-DCF Document 32 Filed 08/14/20 Page 6 of 10




       19.     Athena is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 19.

       20.     Athena denies the allegations in Paragraph 20.

       21.     Athena admits that IPL did not acquire Humidity from SKH Management Corp.

(which entity according to the criminal complaint never even communicated with, let alone sold

a multi-million dollar Painting to, Philbrick) for $22 million and admits that IPL acquired

Humidity from Phillips for $12.5 million, pursuant to a private sale agreement dated July 27,

2016. Athena is without sufficient knowledge or information to admit or deny the remaining

allegations in Paragraph 21.

       22.     Athena denies the allegations in Paragraph 22.

       23.     Athena admits the allegations contained in the first two sentences of Paragraph

23. Athena denies the remaining allegations in Paragraph 23.

       24.     Athena is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 24.

       25.     Athena is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 25.

       26.     Athena refers all questions of law contained in Paragraph 26 to the court, and

otherwise denies the allegations therein.

       27.     Athena admits the allegations in Paragraph 27.

       28.     Athena admits the allegations in Paragraph 28.




                                                6
      Case 1:20-cv-04669-GBD-DCF Document 32 Filed 08/14/20 Page 7 of 10




        29.     Athena admits the allegations in Paragraph 29, except Athena rejects the

characterization therein of the pledge of the Painting as collateral and the transfer of the

“Painting” from IPL to Boxwood as “purported.”

        30.     Athena admits the allegations in Paragraph 30.

        31.     Athena denies the allegations in Paragraph 31.

        32.     Athena denies the allegations in Paragraph 32.

        33.     Athena admits the allegations in Paragraph 33.

        34.     Athena admits the allegations in Paragraph 34, but notes that the order was

vacated by the English court upon its determination that Athena was not subject to the court’s

jurisdiction.

        35.     Athena admits the allegations in Paragraph 35.

        36.     Athena admits the allegations in Paragraph 36.

        37.     Athena is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 37.

        38.     Athena admits the allegations in Paragraph 38.

        39.     Athena is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 39.

                         First Cause of Action – Declaratory Judgment
        40.     Athena repeats its responses to the above paragraphs as if fully set forth herein.

        41.     Athena denies the allegations in Paragraph 41.

        42.     Athena denies the allegations in Paragraph 42.

                                                  7
      Case 1:20-cv-04669-GBD-DCF Document 32 Filed 08/14/20 Page 8 of 10




       43.     Athena is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 43.

       44.     Athena denies the allegations in Paragraph 44.

       45.     Athena denies the allegations in Paragraph 45.

       46.     Athena denies the allegations in Paragraph 46.

       47.     Athena admits that a justiciable controversy exists between Athena and Delahunty

as to whether Athena has a valid security interest in or claim to Humidity, and denies the

remaining allegations in Paragraph 47.

       48.     Athena denies the allegations in Paragraph 47.

                                         Prayer for Relief
       49.     Athena denies that Delahunty is entitled to any relief.

                                      Affirmative Defenses
       50.     Athena alleges and asserts the following affirmative defenses in response to the

allegations. By pleading the defenses set forth below, Athena does not admit that it bears the

burden of proof on all or any of the aforesaid defenses, and reserves all rights with respect to

allocation of the burden of proof under the applicable law.

                                    First Affirmative Defense
       51.     Delahunty has failed to state a claim upon which relief can be granted.

                                   Second Affirmative Defense
       52.     Athena has at all times acted in good faith and with reasonable grounds for

believing that its conduct was not wrongful, tortious, or unlawful.




                                                 8
      Case 1:20-cv-04669-GBD-DCF Document 32 Filed 08/14/20 Page 9 of 10




                                   Third Affirmative Defense
       53.     Any damages sustained by Delahunty were caused wholly or in part by the acts

and omissions of Delahunty itself, or by the acts and omissions of other third parties, all of which

acts and omissions were beyond Athena’s control.

       54.     Even if Delahunty’s claims are not completely barred as a result, any damages

allegedly suffered must be reduced as a result of the consequences of such conduct.

                                  Fourth Affirmative Defense
       55.     Delahunty is barred in whole or in part from maintaining this action and

recovering any damages or obtaining any equitable relief under the doctrine of unclean hands.

                                    Fifth Affirmative Defense
       56.     Delahunty has failed to obtain jurisdiction over IPL and Boxwood, without whom

Delahunty cannot establish its entitlement to a declaration of rights as against them.

                             Other Affirmative Defenses Reserved
       57.     Athena reserves the right to assert all affirmative and other defenses at law or in

equity that may become known in the future.

                                                ***




                                                 9
     Case 1:20-cv-04669-GBD-DCF Document 32 Filed 08/14/20 Page 10 of 10




       WHEREFORE, Athena respectfully submits that Delahunty Limited’s answer and

counterclaim must be dismissed, and the relief demanded in Athena Art Finance Corp.’s

complaint must be granted.




Dated: New York, New York
       August 14, 2020
                                    Respectfully submitted,
                                    MAZZOLA LINDSTROM, LLP

                                    By: ________________________
                                    Wendy J. Lindstrom, Esq.
                                    Counsel for plaintiff Athena Art Finance Corp.
                                    1350 Avenue of the Americas, 2nd Floor
                                    New York New York 10019




To: All parties via ECF




                                             10
